Case 7:19-cv-00508-EKD Document 18 Filed 11/07/19 Page 1iof2 Pageid#: 97

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Roanoke Division

DANIEL GROTH T/A PENN FOREST SERVICES
Plaintiff,
Vv. Case No. 7:19CV508

FERRANDINO & SON, INC.

Defendant.

Nee Nee Nem” Nee” Nee” See” See” See” Ne ee”

STIPULATION OF DISMISSAL
Plaintiff Daniel Groth t/a Penn Forest Services and Defendant Ferrandino & Son, Inc., by
counsel, submit this stipulation of dismissal of this action pursuant to Rule 41(a)(1)(A)(ii) of the
Federal Rules of Civil Procedure. The parties stipulate that this action should be dismissed
without prejudice, with each party to bear its own costs and attorney’s fees.

Dated: November 4, 2019.

 

Richard L. Greenberg, Esq. (VSB No. 18754)
GREENBERG LAW FIRM

P.O. Box 240

Roanoke, VA 24002

541 Luck Avenue, Suite 200

Roanoke, Virginia 24016

(540) 345-0999 — phone

(540) 342-8006 — facsimile

rlg@greenberglawfirm.com

Counsel for Plaintiff Daniel Groth T/A Penn Forest Services

28982/1/9081753vi
Case 7:19-cv-00508-EKD Document 18 Filed 11/07/19 Page 2of2 Pageid#: 98

/s/ Kirk M. Sosebee

K. Brett Marston (VSB No. 35900)
Kirk M. Sosebee (VSB No. 88013)
GENTRY LOCKE

10 Franklin Road SE, Suite 900
Roanoke, Virginia 2401 1
Telephone No.: (434) 983-9300
Facsimile No.: (434) 983-9391
Marston@gentrylocke.com
Sosebee@gentrylocke.com
Counsel for Defendant Ferrandino & Son, Inc.

CERTIFICATE OF SERVICE
I hereby certify that I electronically filed the foregoing with the Clerk of the Court on the
Ag day of November, 2019, using the CM/ECF system, which will send a notification of such

filing to all counsel of record.

Of Counsel

28982/1/9081753v1
